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                                                                                                   E-FILED
                                                               Thursday, 01 September, 2022 10:59:35 AM
                                                                             Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG, #S15203,                              )
                                                   )
       Plaintiff,                                  )
                                                   )
       vs.                                         )           No. 19-CV-3195
                                                   )
TERRY MARTIN et al.,                               )
                                                   )
       Defendants.                                 )


                            NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned is admitted or otherwise authorized

to practice in this Court, and hereby enters an appearance in this case as counsel for Plaintiff

Dwight Long.

                                                   Respectfully Submitted,


                                                   By: /s/ Sara Trevino
                                                       Sara M. Trevino
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                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG, #S15203,                             )
                                                  )
       Plaintiff,                                 )
                                                  )
       vs.                                        )          No. 19-CV-3195
                                                  )
TERRY MARTIN et al.,                              )
                                                  )
       Defendants.                                )


                            CERTIFICATE OF SERVICE

       I hereby certify that on September 1, 2022, I filed an electronic copy of the

foregoing Notice of Appearance through the CM/ECF system at the address of Defendant’s

attorneys below:

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                                                  Respectfully Submitted,


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